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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


BAY VIEW CHAUTAUQUA
INCLUSIVENESS GROUP,                                          CASE NO. 17-cv-0622-PLM-RSK

       Plaintiff,

vs.                                                           HON. Paul L. Maloney

THE BAY VIEW ASSOCIATION OF
THE UNITED METHODIST CHURCH, et al.,

       Defendants.


 Sarah S. Prescott (P70510)                           Michael S. Bogren (P34835)
 SALVATORE PRESCOTT & PORTER, PLLC                    PLUNKETT COONEY
 Attorneys for Plaintiff                              Attorneys for Defendants
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                                   JOINT STATUS REPORT

       A Rule 16 Scheduling Conference is scheduled to be held telephonically on April 6, 2018

at 3:00 p.m. before Hon. Paul L. Maloney. Appearing for the parties as counsel will be:

               Sarah S. Prescott, attorney for plaintiff

               Michael S. Bogren, attorney for defendants

       1.      Jurisdiction: This case involves federal questions arising under 42 U.S.C. § 1983

and the Fair Housing Act, 42 U.S.C. § 3601 et seq. The basis for the Court’s jurisdiction is 28

U.S.C. §§ 1331 and 1343. The suit also seeks declaratory relief available under 28 U.S.C. § 2201.

       2.      Jury or Non-Jury:      This case is to be tried before a jury.
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       3.      Judicial Availability: The parties do not agree to have a United States Magistrate

Judge conduct any and all further proceedings in the case including trial, nor to order the entry of

final judgment.

       4.      Statement of the Case:

       Plaintiff’s claims: Defendants operate a community of cottages, lodgings, and multi-

purpose buildings near Petoskey, Michigan. Bay View was organized under a unique Michigan

law that delegates substantial governmental powers to the entity. Because the entity is invested

with, may use and in many cases does use powers and duties reserved to the government, Bay

View is bound by the Constitutional and statutory prohibitions against establishment of religion

and against religious discrimination. Nevertheless, the Bay View Defendants admittedly enforce

and perpetuate rules restricting cottage ownership to practicing Christians. This religious

discrimination specifically violates the U.S. and Michigan Constitutions, the Federal Fair Housing

Act (42 U.S.C. § 3601 et seq.) and Michigan’s Elliott-Larsen Civil Rights Act (MCL § 32.2101

et. seq.). Exemptions for religious adherents to live together under the Fair House and Elliott-

Larsen Acts do not apply to Bay View for several reasons. Finally, Plaintiff has standing as the

assignee of the claims of its individual members, per controlling Supreme Court precedent.

       Defenses:

       It is the defendants’ position that Counts I and II alleging a violation of 42 U.S.C. § 1983

and the Michigan constitution respectively fail as a matter of law as Bay View Association is not

a state actor. Counts III and IV alleging a violation of Title VIII and the Michigan Civil Rights Act

fail as the defendants’ policies and practices fall within the religious exemption in those statutes.

Bay View Association is a religious organization, or is sufficiently affiliated with the United

Methodist Church to qualify for the statutory exemption. Further, it is the defendants’ position the



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plaintiff lacks standing to make a claim for damages on behalf of its members. Count V alleging a

violation of Michigan corporate law also fails. The Bay View by-laws are valid under state law.

       5.      Prospects of Settlement: The parties engaged in pre-suit settlement discussions

prior to filing. Indeed, they convened a multi-party joint mediation voluntarily long before this

suit was filed. After that failed to resolve the matter, they exchanged pre-suit mediation position

statements. That did not move settlement forward. Since filing, the parties mediated with Bill

Jack, but they were unable to reach a resolution. The parties see negotiated resolution as unlikely

based on these efforts.

       6.      Pendent State Claims: This case involves several pendent claims. The Michigan

constitutional and Elliott-Larsen religious discrimination claims are pendent Counts 2 and 4

respectively. Count 5 asserts that the Defendants’ repeated attempts to draw closer to the United

Methodist Church through a series of bylaw amendments violates State law in a variety of respects

and must be enjoined. For example, MCL § 455.91 prohibits corporations such as Bay View from

changing “the general purpose for which such corporation was formed,” which Defendants seek

to do by re-envisioning Bay View as an explicitly Methodist entity. As another example, In People

v. Young Men’s Father Matthew T.A.B. Society, 41 Mich. 67, 1 NW 913 (1879), Michigan’s

Supreme Court held that bylaws cannot set forth a religious qualification for membership in a

Michigan corporation if the articles of association are silent on the subject. Bay View’s articles are

silent on this issue, yet Defendants have attempted to create such impermissible bylaw restrictions.

MCL § 450.2488 was recently added to the Michigan Nonprofit Corporation Act and it specifies,

among other provisions, the procedures that must be followed to limit statutory governance rights

of the members of a Michigan nonprofit corporation like Bay View. Under this provision, the

rights of the members of a Michigan nonprofit corporation to amend bylaws can only be curtailed



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or limited if all of the members of the corporation approve the particular limitations at the time

they are first instituted—Bay View is attempting to skirt this rule as well.


       The defendants’ position on plaintiff’s state law claims is included in the preceding

paragraph. The defendants do not object to the Court exercising supplemental jurisdiction over the

state law claims.


       7.      Joinder of Parties and Amendment of Pleadings: Plaintiff does not expect to

file a motion for joinder of parties to this action, nor to amend the pleadings. Any motions for

joinder of parties or to amend the pleadings will be filed by May 4, 2018.

       8.      Disclosure and Exchanges:

               (a)     Fed. R. Civ. P. 26(a)(1) requires initial disclosures unless the Court orders
                       otherwise. The parties propose the following schedule for Rule 26(a)(1)
                       disclosures:

                       Initial disclosures to be due by May 4, 2018.

               (b) & (c) The parties respectfully request that they would be permitted to name
                      experts and issue expert reports following the Court’s resolution of legal
                      issues calling for declaratory/injunctive relief, both for efficiency’s sake and
                      because the resolution may negate the need for the same.

                       The defendants request both expert disclosures and expert reports be
                       staggered with plaintiff disclosing thirty days prior to defendants being
                       required to disclose.

               (d)     The parties have agreed to make available the following documents without
                       the need of a formal request for production by May 1, 2018:

                       The parties are unable to agree on voluntary production at this time.

       9.      Discovery:      The Defendants believe that all discovery proceedings can be

completed by October 5, 2018. Plaintiff believes discovery can be completed by late July.

       The defendants agree with the presumptive limitations on written discovery and the seven

hour limitation on depositions. However, the defendants submit the 10 deposition limitation is not


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sufficient. Although the plaintiff has not identified its members the defendants believe there are

more than ten individual members. Since plaintiff has alleged individualized damages the

defendants are entitled to take depositions of each member asserting damages. At this time the

defendants do not know how many depositions will be required. Plaintiff does not object to

depositions limited to damages in excess of ten (10).

        10.     Disclosure or Discovery of Electronically Stored Information: The parties have

discussed the production of electronically stored information and suggest that such information be

handled as follows:

                The parties do not anticipate the need for complicated electronic discovery. To the

extent that there is electronically stored information to be produced by the parties, this discovery

shall be produced as that information is used in the ordinary course of business.

                The parties do not believe that there is significant electronically stored information;

however, the parties will make a good-faith search of e-mails as requested by the opposing party

and will produce them either in hard copy form or in electronic form. The parties have instituted

litigation holds.

        11.     Assertion of Claims of Privilege or Work-Product Immunity After
                Production:

        In the event that there is an inadvertent disclosure of documents that are legitimately

privileged or that constitute trial preparation materials, the receiving party shall notify the

disclosing party of the inadvertent disclosure and shall return the documents to the disclosing party.

        12.     Motions:       The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the

moving party to ascertain whether the motion will be opposed, and in the case of all nondispositive

motions, counsel or pro se parties involved in the dispute shall confer in a good-faith effort to




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resolve the dispute. In addition, all nondispositive motions shall be accompanied by a separately

filed certificate.

                 The following dispositive motions are contemplated by each party:

        Plaintiffs intend to bring a motion for judgment on the pleadings, per FRCP 12(c). Should

that not be granted, Plaintiffs intend to bring a partial motion for summary judgment (as to

liability), per FRCP 56. Plaintiffs expect to request injunctive and declaratory relief.

        The defendants contemplate renewing their motion for judgment on the pleadings based on

lack of standing. The defendants also anticipate filing a motion for summary judgment after the

close of discovery.

        Plaintiff suggests that all dispositive motions be filed by September 5, 2018.

        The Defendants suggest that all dispositive motions be filed by November 5, 2018.

        13.      Alternative Dispute Resolution:       The Court has required the parties to

participate in Alternative Dispute Resolution at this time. The effort was not successful.

        14.      Length of Trial: Counsel estimate the trial will last approximately 6 full days

total, allocated as follows: 3 full days for plaintiff’s case, and 3 days for defendants’ case.

        15.      Electronic Document Filing System:            Counsel are reminded that Local Civil

Rule 5.7(a) requires attorneys to file and serve all documents electronically, by means of the

Court’s CM/ECF system, unless the attorney has been specifically exempted by the Court for cause

or a particular document is not eligible for electronic filing under the rule. The Court expects all

counsel to abide by the requirements of this rule. Pro se parties (litigants representing themselves

without the assistance of a lawyer) must submit their documents to the Clerk on paper, in a form

complying with the requirements of the local rules. Counsel opposing a pro se party must file

documents electronically but serve pro se parties with paper documents in the traditional manner.



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       16.     Other: Plaintiffs believe that the primary legal questions involved in this case can

and should be decided as a matter of law. They are close to filing a 12(c) motion seeking the

declaration that the policies and bylaws of the Defendants, which are not disputed and were

attached to the complaint, are void and unenforceable (being contrary to the Federal, State

constitution and laws).



Respectfully submitted,

 /s/ Sarah S. Prescott                              /s/ Michael S. Bogren (w/ permission)
 Sarah S. Prescott (P70510)                         Michael S. Bogren (P34835)
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 PLLC                                               Attorneys for Defendants
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2018, I electronically filed the foregoing document with

the Clerk of the Court using the ECF system which will send notification of such filing to counsel

of record.

Dated: April 3, 2018                         /s/ Tara L. Lank
                                             Tara L. Lank, Legal Secretary




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